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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



UNITED STATES OF AMERICA                      )
                                              ) CRIMINAL ACTION FILE
v.                                            )
                                              ) NUMBER 1:12-cr-319-1-TCB
JUAN MACEDO MALDONADO,                        )
                                              )
              Defendant.                      )



                                       ORDER

       This case is currently before the Court on Magistrate Judge Walker’s

Report and Recommendation (the “R&R”) [224]. No objections to the R&R

have been filed.

       A district judge has a duty to conduct a “careful and complete” review

of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d 732, 732

(11th Cir. 1982) (quoting Nettles v. Wainwright, 677 F.2d 404, 408 (5th

Cir. 1982)). 1 Where no objection to the R&R is made, it need only be


       1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit decisions

issued before October 1, 1981, as well as all decisions issued after that date by the Unit B
panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34 (11th Cir.
1982); see also United States v. Schultz, 565 F.3d 1353, 1361 n.4 (11th Cir. 2009)
(discussing continuing validity of Nettles).
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reviewed for clear error. Macort v. Prem, Inc., 208 F. App’x 781, 784 (11th

Cir. 2006).2 After conducting a complete and careful review of the R&R,

the district judge may accept, reject or modify the magistrate judge’s

findings and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681

F.2d at 732. The district judge may also receive further evidence or

recommit the matter to the magistrate judge with instructions. 28 U.S.C. §

636(b)(1)(C).

      The Court has carefully reviewed the thorough and well-reasoned

R&R and finds no plain error in its factual or legal conclusions. Therefore,

the Court ADOPTS AS ITS ORDER the R&R [224]. Defendant’s motions to

suppress [121, 122, 158, 159, 207] are DENIED. The R&R defers to the

undersigned evaluation of Defendant’s motion to sever [123], and

Defendant has still failed to provide the information necessary to evaluate

the merits of such a motion. Thus, it is also DENIED.


      2 Macort addressed only the standard of review applied to a magistrate judge’s

factual findings; however, the Supreme Court has held that there is no reason for the
district court to apply a different standard of review to a magistrate judge’s legal
conclusions. Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this
circuit have routinely applied a clear-error standard to both. See Tauber v. Barnhart,
438 F. Supp. 2d 1366, 1373-74 (N.D. Ga. 2006) (collecting cases). By contrast, the
standard of review on appeal distinguishes between the factual findings and legal
conclusions. See Monroe v. Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991) (when
magistrate judge’s findings of fact are adopted by district court without objection, they
are reviewed on appeal under plain-error standard, but questions of law remain subject
to de novo review).

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 IT IS SO ORDERED this 8th day of January, 2014.


                              _______________________
                              Timothy C. Batten, Sr.
                              United States District Judge




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